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VIA ECF AND FACSIMILE

                                        December 10, 2018

Hon. Paul G. Gardephe 
United States District Court
Southern District of New York
40 Foley Square, Room 2204
New York, NY 10007 
Fax: (212) 805-7986

             Re: Status of Bytemark, Inc. v. Xerox Corp. et al., Case No. 1:17-cv-01803

Dear Judge Gardephe:

We submit this joint letter on behalf of Plaintiff Bytemark, Inc. and Defendants Xerox Corp., ACS
Transport Solutions, Inc., Xerox Transport Solutions, Inc., Conduent, Inc., and New Jersey Transit
Corp. On November 20, 2018, the PTAB denied Xerox et al.’s request for reconsideration of the
denial of the CBM review of the ‘993 patent. On November 25, 2018, Magistrate Judge Payne
from the Eastern District of Texas issued a report and recommendation (“R&R”) advising that
summary judgment of invalidity under § 101 should be granted for all asserted claims of the ʼ993
and ʼ967 patents. Bytemark is filing its objections to the R&R today. On December 3, 2018, the
PTAB issued a Final Written Decision in connection with Masabi Ltd.’s inter partes review
proceedings involving the ‘967 patent, deciding that claims 2 and 19 of the patent are patentable
over the prior art and finding the remaining asserted claims to be unpatentable over the prior art.
One or more parties are likely to appeal this decision.

Given the pending objections to the R&R and the potential appeal(s) of the PTAB’s Final Written
Decision on the asserted claims of the ‘967 patent, the parties believe the Court should maintain the
stay on the patent claims for the time being. The parties will provide an update to the Court in 90
days stating whether they believe the stay should be lifted or whether it should be maintained for an
additional period of time.

Very truly yours,

/s/ Dariush Keyhani                          /s/ Ashley Moore

Dariush Keyhani                              Ashley Moore
Counsel for Plaintiff                        Counsel for Defendants

cc:    Defendants’ Counsel of Record (via ECF)
